L   J            Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 1 of 37



                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

            ROBERT SCOTT BATCHELAR,                         CASE NO. 3:15-cv-01836-VLB

                                    Plaintiff,
            V.
             INTERACTIVE BROKERS, LLC,                               July 22 2019
             INTERACTIVE BROKERS
             GROUP, INC., and THOMAS A.
             FRANK,

                                  Defendants.


                    PLAINTIFF'S MOTION FOR PERMISSION TO FILE SUR-REPLY



              Plaintiff Robert Scott Batchelar hereby moves for permission to file a four

        page sur-reply to Defendants' reply in support of Defendants' proposed draft of

        Source Code Supplement to the Standing Protective Order. Plaintiff seeks to file

        this sur-reply, attached to this motion, in order to address two issues.

              First, as Defendants' invited in their Reply, Plaintiffs have accepted some

        of Defendants' most recent changes to the proposed Supplemental Protective

        Order and proposed further compromises, thus, narrowing the dispute before the

        Court. The sur-reply presents the narrowed issues of dispute.

                 Second, in its Reply Defendants presented alleged !!.ID¥, evidence that

        Defendants claim bolsters the necessity for the disputed provisions in Defendants

        most recent draft order. Plaintiff should have the opportunity to dispute that new

        allegation of the sharing of information in this case with lawyers in another case -
       Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 2 of 37




baseless as it is - which we do in the attached surreply and the attached

declaration of William Shepherd.

      WHEREFORE, Plaintiff respectfully requests that the Court allow him to file

the attached sur-reply for consideration of the Court prior to ruling on

Defendants' Motion to Dismiss.


                                                  Respectfully submitted,
                                                 Isl_ _ _ _ _ _ _ __

 Gary N. Reger (TSB No. 16733200)                 William M. Bloss (ct01008)
 Orgain, Bell and Tucker, LLP                     Christopher M. Mattei (ct27500)
 207 San Jacinto Blvd., Suite 301                 KOSKOFF, KOSKOFF & BIEDER, P.C.
 Austin, TX 78701                                 350 FAIRFIELD AVENUE
 Tel: (512) 861-0441                              BRIDGEPORT, CT 06604
 Email: gnr@obt.com                               Tel: (203)336-4421
                                                  Fax: (203)368-3244
 L. DeWayne Layfield (TSB No. 12065710)           Email: bbloss@koskoff.com
 Law Office of L. Dewayne Layfield, PLLC          Email: cmattei@koskoff.com
 P.O. Box 3829
 Beaumont, TX 77704                               Counsel for Plaintiff
 Tel: (409) 832-1891
 Email: dewayne@layfieldlaw.com




                                          2
       Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 3 of 37




                               Certification of Service

       I hereby certify that on the 22nd day of July 2019, a copy of the foregoing
Plaintiff's Sur-Reply to Defendants' Reply Memorandum was filed electronically.
Notice of this filing will be sent by email to all parties by operation of the Court's
electronic filing system. Parties may access this filing through the Court's
system.


                                                By: /s/_ _ _ _ _ _ _ __
                                                       William M. Bloss




                                            3
       Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 4 of 37



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

ROBERT SCOTT BATCHELAR,                                   Civil Action No.
Individually and on behalf of all
others similarly situated,                             3:15-CV-01836 (VLB)

       Plaintiff
                    vs.

INTERACTIVE BROKERS, LLC,:                                 July 22, 2019
INTERACTIVE BROKERS GROUP,
INC., and THOMAS A. FRANK

                   Defendants.




    Plaintiff's Sur-Reply Memorandum to Defendants' Invited Filing to
    Narrow Differences And To Address And Dispute An Alleged New
                 Fact Concerning Discovery in an Arbitration
             Plaintiff files this Sur-Reply to advise the Court that (1) Plaintiffs

have accepted some of Defendants' most recent changes to the proposed

Supplemental Protective Order and proposed further compromises, thus

narrowing the dispute before the Court; and (2) Defendants' suggestion that

Plaintiff or his counsel have violated or will violate the Standing or Supplemental

Protective Orders is unfounded and untrue.


    A. Fewer Disputed Issues Remain for the Court


       As invited by Defendants, 1 Plaintiff has reviewed Defendants' recent draft




1
 Defendants at page 2 of their filing of July 16, 2019 (ECF Doc. 119), invited
Plaintiff to advise the Court if Plaintiff may be able to agree to certain of the
Defendants' proposed changes.
                                                                                      1
       Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 5 of 37



filed with this Court and very little disagreement remains. Attached as Exhibit A is

a clean version of Plaintiff's most recent proposal for narrowing the gap and

Plaintiff attaches as Exhibit B a redline version showing very limited

disagreement. The remaining areas of substantive disagreement are expert

disclosures (Redline Exhibit B p. 3 and n. 1) and exceptions to restrictions on use

(Redline Exhibit B pp. 9 and 10). There are other important language differences

shown on pp. 2 and 5 of the redlined Exhibit B. Plaintiff has provided Exhibits A

and B to Defendants with the hope they will agree to Plaintiff's latest proposed

compromise on the remaining issues.


B. Defendants' Suggestion that Plaintiff or His Counsel Have Violated or Will
   Violate the Standing or Supplemental Protective Orders is Unfounded and
   Untrue.

      This new proposed Exhibit A draft should resolve Defendants' stated

concern with respect to our consulting with attorneys who have not appeared in

this case (further addressed below). However, from that concern, Defendants

wrongly accuse Plaintiff of passing confidential information to other counsel,

William Shepherd, who they infer used it in an arbitration. Mr. Shepherd (or more

accurately the law firm named after him) is Defendants' purported new evidence

that their concern about passing information to others is well founded. 2 This


2
 18 expressed its "concern" as follows, with emphasis added: "Defendants'
proposal is based on a real concern here . . . That concern has proven to be we/1-
founded. ... On July 9, 2019, Defendants became aware that in [another]
confidential arbitration involving Defendant Interactive Brokers LLC and
customers other than Plaintiff, counsel for the customers sought all discovery
produced in this action .... Shepherd Smith Edwards & Kantas-the firm of which
William S. Shepherd is an attorney-is counsel for the customers in that
arbitration proceeding .... " Defendants' Reply 1) 2, pp. 3 -4 [Dkt. 119].

                                                                                    2
       Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 6 of 37



assertion, in a public pleading, is baseless.


      Defendants argue that the presence in an arbitration of the firm Mr.

Shepherd founded confirms the legitimacy of Defendants' concern, because,

Defendants argue, the firm Mr. Shepherd founded "sought [in the arbitration] all

discovery produced in this action [our suit]." Defendants' Reply implies that

attorney Shepherd transmitted confidential information to parties in the

arbitration. That simply is not true. That Defendants chose to make this assertion

in a reply brief, without any due diligence to determine its veracity, is deeply

discouraging.


      Attached as Exhibit C is a declaration of William Shepherd that discloses

his status with the Shepherd, Smith firm and confirms he has not seen any

confidential Defendant documents, let alone "leaked" them. Mr. Shepherd states

that, while he founded the Shepherd, Smith firm and is carried on the firm's

insurance as "of counsel," he is retired and is not active as a partner, limited

partner or otherwise an owner, employee or contractor of that firm. 3 He has not

had access to any of the documents produced by Defendants in this action which

are stamped Confidential, Attorney's Eyes Only, Source Code, or similar

derivative. He has not disclosed any such information. Mr. Shepherd is not

counsel of record in this or any other case pending against Defendants. See

Exhibit C


       Plaintiff's case against 18 here is disclosed by Defendants in Defendants'


·'Mr.Shepherd does receive a fixed rental payment from the firm. See Exhibit C.
                                                                                    3
          Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 7 of 37



SEC filings, is readily available on Pacer, and is the subject of published news

articles and a public opinion of the Second Circuit. The pendency of this case

and its subject matter is not secret. Indeed, the discovery sought and the

objections that Defendants sought to adjudicate are filed on the Pacer docket of

this case as part of a discovery dispute and Defendants did not move to seal the

information. (Doc. 94-1 ). It cannot be a surprise, much less evidence of violation

of a protective order, that counsel in another case against Interactive Brokers

followed standard discovery practice and, apparently, sought discovery of

documents produced in this case in the arbitration. 4


Conclusion


          The Standing and Proposed Supplemental Protective Orders provide the

following core protections (1) Source Code produced in this case cannot be used

for any purpose other than this litigation, and (2) Source Code cannot be

disclosed to non-Source Code Qualified persons in this litigation. These two

protections are sufficient to protect Defendants' trade secrets and competitive

advantage. Defendants have not shown otherwise.


          What Defendants do, without any proof, is to assume Source Code

Qualified persons will violate protections (1) and (2). On this baseless

assumption Defendants overreach, seeking to prospectively prohibit Source

Code Qualified persons from participating in litigation against Defendants

involving Source Code ever again. Defendants make no distinction for


-1   Defendants likely will have the right to oppose discovery in that arbitration.
                                                                                      4
       Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 8 of 37




circumstances in which the Source Code is produced in future litigation, or

instances in which examination of the Source Code is not required. The form of

Supplemental Protective Order attached as Exhibit A provides robust protection

for Defendants' trade secrets and confidential information without prejudging

issues that should be decided in the future by other courts on the record that

exists at that time. Plaintiffs request that the Court enter the Supplemental

Protective Order attached as Exhibit A.


                                                   Respectfully submitted,
                                                   Isl_ _ _ _ _ _ _ __
                                                   William M. Bloss (ct01008)
 Gary N. Reger (TSB No. 16733200)                  Christopher M. Mattei (ct27500)
 Orgain, Bell and Tucker, LLP                      KOSKOFF, KOSKOFF & BIEDER, P.C.
 207 San Jacinto Blvd., Suite 301                  350 FAIRFIELD AVENUE
 Austin, TX 78701                                  BRIDGEPORT, CT 06604
 Tel: (512) 861-0441                               Tel: (203)336-4421
 Email: gnr@obt.com                                Fax: (203)368-3244
                                                   Email: bbloss@koskoff.com
 L. DeWayne Layfield (TSB No. 1206571 O)           Email: cmattei@koskoff.com
 Law Office of L. DeWayne Layfield, PLLC
 P.O. Box 3829                                     Counsel for Plaintiff
 Beaumont, TX 77704
 Tel: (409) 832-1891
 Email: dewayne@layfieldlaw.com

                               Certification Of Service

I hereby certify that on the 22nd day of July, 2019, a copy of the foregoing was
filed electronically. Notice of this filing will be sent by email to all parties by
operation of the Court's electronic filing system. Parties may access this filing
through the Court's system.



                                               By: Isl _ _ _ _ _ _ _ __
                                                       William M. Bloss




                                                                                      5
Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 9 of 37




                      EXHIBIT A

                                                                  6
      Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 10 of 37



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

 ROBERT SCOTT BATCHELAR,                       CASE NO. 3:15-cv-01836-VLB

                         Plaintiff,
                   V.
INTERACTIVE BROKERS, LLC,
INTERACTIVE BROKERS GROUP,
INC., and THOMAS A. FRANK,

                        Defendants.
                                                         July_, 2019


                      [PROPOSED] PROTECTIVE ORDER
 GOVERNING THE     STANDARD FOR ACCESS TO DEFENDANTS' SOURCE CODE

      Disclosure and discovery activity in the above-referenced action involves the
production of Defendants' Source Code, which Defendants claim is highly
confidential, proprietary, and sensitive business information, for which special
protection from public disclosure and from use for any purpose other than
prosecuting this action is warranted. Accordingly, the parties shall follow this
Protective Order (the "Protective Order").

1.    STANDING PROTECTIVE ORDER.

      a.    This Protective Order shall supplement and modify the Standing
            Protective Order entered in the above-referenced action on December
            18, 2015 (ECF No. 5) (the "Standing Protective Order").

2.    "SOURCE CODE" Materials. Information or Items.

      a.   For the purposes of this Protective Order, the term "Action" herein shall
            refer to the above-captioned litigation and any appeals therefrom.

      b.    For the purposes of this Protective Order, the term "Source Code" herein
            shall mean and refer to what Defendants claim is Defendants' sensitive,
            confidential materials, information or items representing computer
            source code and associated comments and revision histories,
            formulas, engineering specifications, or schematics that define or
            otherwise describe the algorithms or structure of software or hardware
            designs, disclosure of which to Plaintiff or any non-party would create
            a substantial risk of serious harm that could not be avoided by less
            restrictive means. Any Source



             Code materials, information or items that Defendants produce in this
             Action will be designated "HIGHLY CONFIDENTIAL SOURCE CODE
     Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 11 of 37
          INFORMATION - ATTORNEYS' EVES ONLY," in accordance with
          Paragraph four of the Standing Protective Order. Nothing in this
          Protective Order shall be construed to limit how Defendants may
          maintain their own material designated as "HIGHLV CONFIDENTIAL
          SOURCE CODE INFORMATION - ATTORNEYS' EVES ONLV." To avoid
          any confusion, the provisions of lr12 of the Standing Protective Order
          apply to material designated as Source Code Information

     c.    The provisions of this Protective Order and the Standing Protective
           Order apply to any Source Code produced before the Protective Order
           is so ordered by the court in this Action.

3.   SOURCE CODE QUALIFIED PERSONS.
     a.    Any Source Code materials, information or items that are produced
           and designated as 11 HIGHLV CONFIDENTIAL SOURCE CODE
           INFORMATION - ATTORNEYS' EVES ONLV 11 in this Action shall only
           be reviewable by Source Code Qualified Persons.

     b.    "Source Code Qualified Persons" shall refer to Plaintiff's Agent(s),
           who have been retained by Plaintiff to assist Plaintiff in this Action.
           Source Code Qualified Persons shall only include the following: (1)
           Outside Counsel of Record in this Action, who have filed an
           appearance in this Action for Plaintiff, and office personnel, support
           staff, (i.e., persons or entities that provided litigation support services),
           paralegals, and legal assistants who are employed or retained by the
           same firm as that of Outside Counsel of Record in this Action; and (2)
           Outside Consultants or Outside Experts (collectively, "Experts" or
           "Expert") in this Action as defined herein and under Paragraph S(c) of
           the Standing Protective Order. "Outside Consultants" herein shall
           refer to testifying and consulting experts. Each Source Code Qualified
           Person who needs access to Defendants' Source Code shall sign the
           form that is attached as Exhibit A to the Standing Protective Order.

     c.    Unless otherwise ordered by the Court or agreed to in writing by
           Defendants, and before Plaintiff seeks to disclose to any Experts any
           Source Code materials, information or items that are produced and
                              11
           designated   as       HIGHLV     CONFIDENTIAL       SOURCE     CODE
           INFORMATION - ATTORNEYS' EVES ONLV11 in this Action, Plaintiff
           must make the following written notice to Defendants (the "Written
           Notice"):

               i. Sets forth the full name of the Expert and the city and state of
                  his or her primary residence;

               ii. Attaches a copy of the Expert's current resume, reflecting the
                   Expert's qualifications, including a list of all publications
                   authored in the previous 10 years, and a list of all other cases
                   in which, during the previous four (4) years, the Expert testified
                   as an expert at trial or by deposition. This provision also
                   applies to Outside Consultants as defined in Paragraph 3(b)

                                          2
      Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 12 of 37
                  herein;

               iii. Discloses (1) whether the Expert was retained in any matter,
                    pre-litigation matter, litigation, action, arbitration or proceeding
                    involving a Competitor of Defendants, within the last four years,
                    and (2) whether, at the time of the Written Notice, the Expert is
                    presently retained in any matter, pre-litigation matter, litigation,
                    action, arbitration or proceeding involving any of the
                    Defendants, unless with respect to subsections (1) and (2)
                    herein, confidentiality obligations in the other matter, pre-
                    litigation matter, litigation, action, arbitration or proceeding
                    prevent such disclosure, in which event the Expert shall
                    disclose the fact of the countervailing confidentiality
                    obligations. 1 "Competitor of Defendants" herein shall mean any
                    broker-dealer. If either or both of these subsections apply to
                    the Expert, the Written Notice shall identify (by name, case
                    number, and filing date) the matter, litigation, arbitration, action
                    or proceeding, unless confidentiality obligations in the other
                    matter, litigation, arbitration, action or proceeding prevent such
                    disclosure, in which event the Expert shall disclose the fact of
                    the countervailing confidentiality obligations. 1

                   1. If the Expert, at the time of the Written Notice, is presently
                      retained in any matter involving any of the Defendants (but
                      that is not a litigation, action, arbitration or proceeding), the
                      Written Notice shall provide a description of the Expert's
                      services rendered, or to be rendered, in connection with the
                      matter, unless confidentiality obligations in the other matter
                      prevent such disclosure, in which event the Expert shall
                      disclose the fact of the countervailing confidentiality
                      obligations. 1

                   2. If the Expert was retained in any matter involving a
                      Competitor (but that was not a litigation, action, arbitration
                      or proceeding), the Written Notice shall identify the
                      Competitor and provide a description of the Expert's
                      services rendered in connection with the matter, unless

1 If the Expert's disclosure of information under Paragraph 3(c)(iii) herein would
require him or her to violate a written or oral confidentiality agreement that he or
she contemporaneously signed or made with his or her engagement as an expert
or would require him or her to violate a confidentiality order that was
contemporaneously entered in the other matter, prelitigation matter, litigation,
action arbitration or proceeding involving a Competitor of Defendants or any of the
Defendants as defined under subsections (1) and (2) therein, the Expert shall
provide whatever information the Expert believes can be disclosed without
violating the applicable confidentiality agreement or order, and Plaintiff shall be
available to meet and confer with Defendants regarding any such engagement. If
the parties are unable to resolve the issue during the meet and confer process, the
issue of the Expert's disclosure under Paragraph 3(c)(iii) shall be decided under
the procedure outlined in Paragraph 3e herein.
                                           3
Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 13 of 37
               confidentiality obligations in the other matter prevent such
               disclosure, in which event the Expert shall disclose the fact
               of the countervailing confidentiality obligations. 1

         iv. Identifies the Expert's current employer(s) and clients, unless
             confidentiality obligations prevent such disclosure, in which
             event the Expert shall disclose the fact of the countervailing
             confidentiality obligations; 1

         v. The Written Notice shall be made by personal service or email
            to Defendants at least fifteen (15) days before the parties'
            agreed-upon disclosure of any Source Code materials,
            information or items that are produced and designated as
            "HIGHLY CONFIDENTIAL SOURCE CODE INFORMATION -
            ATTORNEYS' EYES ONLY."

d.    In the event that Defendants object to the Expert identified by Plaintiff
      in the Written Notice, Defendants shall provide written notice of their
      objection to Plaintiff's identified Expert within seven (7) days of
      receiving the Written Notice. The parties shall first try to dispose of
      such dispute in good faith on an informal basis. If the dispute is not
      resolved within seven (7) days from receipt by Plaintiff of the written
      notice of objection, either party may request appropriate relief from
      the Court.        It is agreed that the standard for an Expert's
      disqualification is set forth in Paragraph 3(e) herein. The identified
      Expert shall be denied access to any Source Code materials,
      information or items that are produced and designated as "HIGHLY
      CONFIDENTIAL SOURCE CODE INFORMATION-ATTORNEYS' EYES
      ONLY," until the dispute is resolved by agreement between the
      parties in question or until decided by the Court, Magistrate Judge or
      Special Master.


e.    Plaintiff's Expert will be presumptively disqualified subject to a
      contrary court order if any of the following applies: (1) the Expert was
      employed by a Competitor of Defendants, including as a consultant,
      within the last three (3) years, (2) the Expert, at the time of retention,
      is anticipated to become an employee or consultant of a Competitor
      of Defendants, or (3) the Expert was an employee of any of the
      Defendants or an employee of any affiliate of Defendants. If the
      foregoing do not apply, or if countervailing confidentiality
      requirements have been raised by the Expert with respect to the
      disclosure the disqualification of the Expert will be determined by the
      Court, a Special Master or a Magistrate Judge upon an in-camera
      review of the confidentiality agreement or confidentiality order under
      which the Expert is asserting countervailing confidentiality
      obligations.

f.    If Defendants do not object to Plaintiff's identified Expert within seven
      (7) days of receipt of Plaintiff's Written Notice, said Expert shall be a
      Source Code Qualified Person. Plaintiff shall deliver, within five (5)
                                   4
     Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 14 of 37
          days thereof, to Defendants an executed copy of the Expert's signed
          form that is attached as Exhibit A to the Standing Protective Order,
          which is required pursuant to Paragraph S(c) of the Standing
           Protective Order.

     g.   In the event that any proposed Expert is disqualified, Plaintiff shall
          have the right to propose a different Expert and seek an extension of
          all affected deadlines, which Defendants will not oppose if the
          extension is reasonable.       Even if an Expert is disqualified from
          reviewing the Source Code, he or she may consult or testify on other
          subjects, including, but not limited to, Defendants' Auto-Liquidation
          Software (and flaws therein) if the Disqualified Expert's opinions,
          testimony, and any other work product rendered in this Action do not
           rely upon any information obtained from a Source Code Qualified
           Person's review of the Source Code. Upon motion and approval by the
           Court, a Disqualified Expert may also review the report or opinion of a
           Source Code Qualified Expert only if the report or opinion does not
           reveal any information obtained from the Source Code Qualified
           Expert's review of the Source Code, and, if otherwise appropriate, rely
           on that report or opinion, to the extent it does not reveal any
           information obtained from the Source Code Qualified Expert's review
           of the Source Code.


4.   METHOD OF ACCESS TO SOURCE CODE.
     a.    At mutually agreeable time(s) by the parties, the Source Code shall be
           made available for inspection with 48 hours' notice, in a format
           allowing it to be reasonably reviewed and searched on a stand-alone,
           secured computers, during normal business hours at the office of Day
           Pitney, 242 Trumbull Street, Hartford, CT 06103 (the "Reviewing
           Location"), subject to the following conditions:

              i. By July 26, 2019, Defendants will provide a non-binding estimate
                  of the volume of production of Defendants' Source Code to the
                  extent as available.

              ii. All produced Source Code documents must have a unique
                  identifier on each page and be searchable. The Source Code
                  will be produced in Java or C++ computer programming
                  language, as applicable.


              iii. Each Source Code Qualified Person who will review the Source
                   Code on behalf of Plaintiff shall be identified in writing to
                   Defendants at least fifteen (15) days in advance of the first time
                   that such person(s) reviews such Source Code. Copies of
                   proper identification of Source Code Qualified Persons shall be
                   provided prior to any access to the Reviewing Location. Proper
                   identification requires showing, at a minimum, a photo
                   identification card sanctioned by the government of any State
                   of the United States, the government of the United States, or
                                        5
Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 15 of 37
            the nation state of the Source Code Qualified Person's current
            citizenship. Such identification shall be in addition to any
            disclosure required under Paragraph 3 herein. Access to the
            Reviewing Location may be denied, at the discretion of
            Defendants, to any Source Code Qualified Person who fails to
            provide proper identification.    For subsequent reviews by
            Source Code Qualified Persons, Plaintiff shall give at least five
            (5) business days' notice to Defendants of such review.

         iv. At Defendants' cost, Defendants will provide one secured,
             stand-alone computer at the Reviewing Location. At Plaintiff's
             cost, Defendants will provide and retain four additional
             secured, stand-alone computers at the Reviewing Location.
             The cost of the four additional computers shall be reasonable
             with the prices advertised at HP.com for comparable
             computers being presumptively reasonable.

         v. At the Reviewing Location, the Source Code shall be made
            available for inspection on the five stand-alone, secured
            computers in a secured room without Internet access or
            network access to other computers, and Source Code Qualified
            Persons shall not copy, remove, photograph, or otherwise
            transfer any portion of the Source Code onto any recordable
            media or recordable device other than the fixed hard disk on
            the stand-alone computers.

b.    Defendants will print and produce portions of the Source Code if
      requested by Plaintiff's Expert within a reasonable period of time after
      receiving the request (e.g., three (3) business days). Such hardcopies
      may be made on watermarked paper at Defendants' election. Any
      individual request seeking more than 25 consecutive pages or
      resulting in a cumulative total of more than 3% of all Source Code
      produced is unreasonable (which may be rebutted). Plaintiff's Expert
      may request printed portions of additional Source Code beyond these
      limits upon a reasonable showing of need. Defendants may mark
      printed Source Code pages or portions, "HIGHLY CONFIDENTAL -
      ATTORNEYS' EYES ONLY (SOURCE CODE)," to signify that the
      Source Code is being produced under the Standing Protective Order
      entered in this Action and under the terms described in this Protective
      Order.


c.    All paper copies of the Source Code produced pursuant to this
      Stipulation will be kept in a locked container at the Reviewing
      Location. Plaintiff's Expert may review these paper copies at the
      Reviewing Location, and Plaintiff's Expert agrees that he or she will
      not copy, email, transmit, upload, download, print, photograph or
      otherwise duplicate any portion of the printed copies of the Source
      Code, either in paper or electronic form, except as otherwise agreed
      by the parties.

                                   6
Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 16 of 37
d.   Without written permission from Defendants or a court order secured
     after appropriate notice to Defendants, Plaintiff may not file in this
     Action or any other action, proceeding, investigation or arbitration,
     any material that reflects any information based on any Qualified
     Source Code Person's review of the Source Code. Should the Court
     order the production of any material reflecting any information based
     on any Qualified Source Code Person's review of the Source Code,
     the parties must move to seal any such material in compliance with
     the Individual Practices and Rules of Judge Bryant, Local Rules of
      Civil Procedure for the District of Connecticut, Federal Rules of Civil
      Procedure or any other applicable rules or law.

e.    If Plaintiff seeks to reproduce lines of code in a motion, pleading,
      expert report or any type of public filing in this Action, the
      reproduction can only be allowed upon approval by the Court,
      magistrate judge or a special master based on an in-camera review.
      Any document containing a reproduction of lines of code will be
      requested by the parties to be filed under seal pursuant to applicable
      law, subject to court order, and marked, "HIGHLY CONFIDENTAL -
      ATTORNEYS' EYES ONLY," under the Standing Protective Order in
      this Action.

f.    Defendants shall provide Source Code Qualified Persons with a list
      of all programs or applications installed on the stand-alone
      computers. No monitoring program or application (such as key-stroke
      monitors) shall be installed on the stand-alone computers.
      Information explaining how to start, log onto, and operate the stand-
      alone, secured computers in order to access the produced Source
      Code on the stand- alone, secured computers will be provided. With
      the exception of the absence of internet connectivity and the absence
      of removable memory devices (USB etc.), the stand-alone computers
      shall meet prevailing specifications of Hewlett Packard top of the line
      business desktops or the equivalent.

g.    At Plaintiff's cost, Defendants will install source code analyzer tools
      selected by Plaintiff and his Experts, so long as such tools are not
      compilers, interpreters or simulators.        Plaintiff will provide any
      necessary software licenses at his cost.        Plaintiff will identify all
      analyzer tools by June 30, 2019, and any related dispute is to be
      resolved before a magistrate judge or special master.

h.    Source Code Qualified Persons shall make reasonable efforts to
      restrict their requests for access to the stand-alone, secured
      computers from Monday through Saturday at 8:00 a.m. through 6:00
      p.m. local time at the Reviewing Location.

i.     Upon reasonable notice from Plaintiff, which shall not be less than
       three (3) business days in advance, Defendants shall make
       reasonable efforts to accommodate Plaintiff's request for access to
       the secured, stand-alone computers outside of normal business
                                    7
     Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 17 of 37
          hours. Such an expanded review period shall not begin earlier than
          8:00 a.m. and shall not end later than 8:00 p.m. local time at the
          Reviewing Location. The parties agree to cooperate in good faith such
          that maintaining the Source Code at the Reviewing Location shall not
          unreasonably hinder Plaintiff's ability to conduct the prosecution or
          defense in this Action.

     j.    No copies shall be made by Plaintiff of Source Code, whether
           physical, electronic, or otherwise, other than volatile copies
           necessarily made in the normal course of accessing the Source Code
           on the stand-alone, secured computers.       No outside electronic
           devices, including but not limited to laptop computers, USB flash
           drives, zip drives, or devices with camera functionalities shall be
           permitted in the same room as the stand-alone computers.

     k.    Defendants may exercise personal supervision from outside the
           review room at the Reviewing Location over Source Code Qualified
           Persons when these persons are in the Source Code review room.
           Such supervision, however, shall not entail review of any work
           product generated by the Source Code Qualified Persons, e.g.,
           monitoring the screens of the stand-alone computers, monitoring any
           surface reflecting any notes or work product of Source Code Qualified
           Persons or monitoring the key strokes of Source Code Qualified
           Persons. There will be no audio or video supervision by Defendants
           at the Reviewing Location.

     I.    Nothing may be removed from the stand-alone, secured computers,
           either by the Source Code Qualified Persons or at the request of the
           Source Code Qualified Persons, except for uses to which the parties
           may agree or that the Court may order, in which circumstance any
           such production will be sought by the parties to be sealed under the
           applicable law and rules.

     m.    No person other than Defendants may alter, dismantle, disassemble
           or modify the stand-alone computers in any way, or attempt to
           circumvent any security feature of the computers.



5.    SCOPE.
      a.   Pursuant to Paragraph S(c) of the Standing Protective Order, any
           Source Code produced in this Action may only be disclosed to Source
           Code Qualified Persons for the purpose of obtaining such Source
           Code Qualified Persons' assistance in this Action, i.e., Batchelar v.
           Interactive Brokers, LLC, 3:15-cv-01836-VLB (D. Conn.), subject to the
           following limitations:

               i. The protections conferred by this Protective Order cover not
                  only Defendants' Source Code (as defined in Paragraph 2
                  herein), but also the following: (1) any information gleaned by
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     Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 18 of 37
                 Source Code Qualified Persons upon their review of the Source
                 Code; (2) all summaries or notes of Source Code Qualified
                 Persons based on their review of the Source Code; and (3) any
                 testimony, conversations or presentations by Source Code
                 Qualified Persons that might reveal Defendants' Source Code.

              ii. For the avoidance of any doubt, except as permitted in this
                  Paragraph, any Source Code Qualified Person is prohibited
                  from using any information learned or obtained from his or her
                  review of Defendants' Source Code for any purpose other than
                  to assist Plaintiff in the prosecution of this Action or in any
                  subsequent arbitration in which Plaintiff is a party. Testimony
                  provided by a Source Code Qualified Person in this Action that
                  reflects any information learned or obtained from his or her
                  review of Defendants' Source Code can be used to solely for the
                  purposes of this Action, and any intended use thereof in this
                  Action must be disclosed to Defendants in writing seven (7)
                  days prior to its intended use so that Defendants can make
                  any motion they deem appropriate. Such testimony is subject
                  to the provisions of this Protective Order and Standing
                  Protective Order. Accordingly, any Source Code Qualified
                  Person, including any Source Code Qualified Expert, shall not
                  testify or advise any nonparty in connection with Defendants'
                  Source Code in any separate matter, pre-litigation matter,
                  proceeding, action, investigation or arbitration.        Nothing in
                  this Supplemental Protective Order shall restrict the ability of
                  Plaintiff's Outside Counsel of Record as defined in Paragraph
                  3(b) herein to represent clients other than Plaintiff against one
                  or more of the Defendants so long as Plaintiff's Outside Counsel
                  of Record comply with the provisions of this Supplemental
                   Protective Order. The restriction of the preceding sentence
                   does not apply if one or more of Defendants is a party to the
                   action, proceeding or arbitration and the Source Code as issue
                   has been ordered produced subject to an appropriate protective
                   order in that action, proceeding or arbitration. Also, this
                   restriction does not prevent an expert from testifying based on
                   any information or material produced in other proceedings. In
                   this circumstance the court or arbitrator in the other action
                   proceeding or arbitration is in the best position to rule on issues
                   in that action, proceeding or arbitration.

6.   SOURCE CODE LOG.

     a.    Plaintiff shall maintain a source code log containing the following
           information: (1) the identify of each SOURCE CODE QUALIFIED
           PERSON(S) who was granted access to the Source Code; and (2) the
           first date on which such access was granted. The source code log
           may be reviewed by Defendants if Plaintiff agrees or the Court so
           orders.

7.   MISCELLANEOUS.
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     Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 19 of 37


     a.   Right to Further Relief. The parties agree that entering into this
          Protective Order is without prejudice to any party's right to propose,
          request or otherwise move for different provisions relating to the
          protection of Defendants' Source Code in this Action.

     b.   Rjqht to Assert Other Objections. By stipulating to the entry of this
          Protective Order, the Parties do not waive any right they otherwise
          would have to object to, or requiring the, disclosing or producing any
          information or item on any ground not available at the time of entering
          into this Protective Order. Similarly, the Parties do not waive any
          right to object on any ground to Plaintiff's or Defendants' use in
          evidence of any of the material covered by this Protective Order, or
          their respective right to oppose such objection.

     c.    No Filing of Any Source Code. Paragraph 4 herein governs when
          Source Code may be filed with the court.

8.   DURATION.
     a.   The obligations imposed by this Protective Order shall remain in
          effect after the final disposition of this Action until the Parties agree
          otherwise in writing, or a court order otherwise directs. "Final
          disposition" shall be deemed to be the later of (1) dismissal of all
          claims and defenses in this Action, with or without prejudice; and (2)
          final judgment herein after the completion and exhaustion of all
          appeals, rehearings, remands, trials, or reviews of this Action,
          including the time limits for filing any motions or applications for
          extension of time pursuant to applicable law.

     b.   Within 30 days after the final disposition of this Action, as defined
          herein, each Source Code Qualified Person must return to Defendants
          or destroy any materials addressed in Paragraph 5 herein, including
          all summaries, notes, and any other materials reflecting any
          information about the Source Code. As used in this subdivision, any
          such material includes all copies, abstracts, compilations,
          summaries, and any other format reproducing or capturing any of the
          Source Code.

     c.   Whether the Protected Material is returned or destroyed, each Source
          Code Qualified Person must submit a written certification to
          Defendants by the 30-day deadline that (1) identifies (by category,
          where appropriate) all the material that was returned or destroyed and
          (2) affirms that the certifying Source Code Qualified Person has not
          retained any copies, abstracts, compilations, summaries or any other
          format reproducing or capturing any of the Source Code.




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    Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 20 of 37


IT IS SO ORDERED.



DATED: _ _ _ _ _ __
                              United States District Judge Vanessa L. Bryant




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Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 21 of 37




                       EXHIBIT B

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  ROBERT SCOTT BATCHELAR,                            CASE NO. 3:15-cv-01836-VLB

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the Defendants as defined under subsections (1) and (2) therein, the Expert shall
provide whatever information the Expert believes can be disclosed without
violating the applicable confidentiality agreement or order, and Plaintiff shall be
available to meet and confer with Defendants regarding any such engagement. If
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the parties are unable to resolve the issue during the meet and confer process, the
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          of such dispute in good faith on an informal basis. If the dispute is
          not resolved within seven (7) days from receipt by Plaintiff of the
          written notice of objection, either party may request appropriate relief
          from the Court. _Jt~            reed that the standard for an Ex ert's
          disqualification is set forth in Paragraph 3(e) herein. The identified
          Expert shall be denied access to any Source Code materials,
          information or items that are produced an~ designated as " IGHLY
          CONFIDENTIAL SOURCE CODE INFORMATION -ATTORNEYS' EYES
          ONLY," until the dispute is resolved by agreement between the
          parties in question or until decided by the Court, Magistrate Judge or
          Special Master _ _ _ _ _ _ _ __

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          requirements have been raised by the Expert with respect t o the
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          the Court, A Sp,.e,cla,lMa..s! e.r:,or, a .M.a.g.is!.rA\e ,J.ud9!_ u on an in-camer.
            eview of the confidentialit}' agreement or confidentialit order under
           which the Expert is asserting countervailing confidentiality
           obligations.- ,_

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           r,eJ.v. ,UBOJ\ .,any information obtained from ,S.ou r.c.e, ,Co,d.e, ,Qu,aliJje,d
          .P.e[.s,on 's. .re,vl e.w..of ,the ,S.o,u.r.c.e..CoAA,-. Upon motion and approval by
           the Court, a Disqualified Expert may also review the report or opinion
            of a Source Code Qualified Expert only if the report or opinion does
            not reveal any information obtained from the Source Code Qualified
            Expe 's review of the Source Code and if otherwise a ropriate, rel y
            on that report or opinion~_to the extent it does not reveal an J/
            information obtained from the Source Code Qualified Expert',s review JI                                     Formatted: Normal, Left. Indent: Left 0.07", Right:
            of the Source Code ,.___ __                                                                              , -0.01 ", Line spacing: Exactly 13.55 pt, No bullets or
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     4.   METHOD OF ACCESS TO SOURCECODE.,. _ _ __                                                                      Formatted: Normal, Indent: Left 0.57", Hanging: 0.5'',
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            iii.   1!1......E~~t:!
                              Source Code Qualified Perso who will review the •                           Formatted
                   Source Code on behalf of Plaintiff shall be identified in writing                      Formatted: Normal, Indent: Left 1.31 ", Hanging:
                   to Defendants at least fifteen (15) days in advance of the first                       0.26", Right: 0.04", No bullets or numbering
                   time that such person(s) reviews such Source Code. Copies of
                   proper identification of Source Code Qualified Persons shall be
                   provided prior to any access to the Reviewing Location. -Pro er
                   identification requires showing, at a minimum, a photo
                   identification card sanctioned by the government of any State
                   of the United States, the government of the United States, or
                   the nation state of the Source Code Qualified Perso 's current
                   citizenship. Such identification shall be in addition to any
                   disclosure required under Paragraph 3 herein. Access to the
                   Reviewing Location may be denied, at the discretion of
                   Defendants, to any Source Code Qualified Perso who fails to
                   provide proper identification. _t_gr subse uent reviews b
                   Source Code Qualified Persons Plaintiff shall ive at least five
                   (5) business days' notice to Defendants of such review ~ - -

             iv. b!JJ..-Pefendants' cost       efendants will    rovide one .... -                        Formatted: Normal, Indent: Left 1.31 ", Hanging:
                 secured, stand-alone computer at the Reviewing Location. At                              0.26", Right: 0.04", No bullets or numbering
                 Plaintiff's cost, Defendants will provide and retain four                                Formatted
                 additional secured, stand-alone computers at the Reviewing
                 Location. The cost of the four additional computers shall be
                 reasonable with the prices advertised at HP .com for
                 comparable computers being presumptively reasonable _ _ _

             v. ~         t the Reviewin.9 Location, the Source Code shall be •- - - -                    Formatted: Normal, Indent: Left 1.31 ", Hanging:
                   made available for inspection on the five stand-alone, secured ',                      0.26", Right: 0.04", No bullets or numbering
                   computers in a secured room without Internet access or            :,;                  Formatted                                        ~
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                   network access to other computers, and Source Code Qualified
                   Persons shall not copy, remove, photograph, or otherwise
                   transfer any portion of the Source Code onto any recordable
                   media or recordable device other than the fixed hard disk on
                   the stand-alone computers.-                                    /


          L__.Defendants will print and produce portions of the Source Code .... - -                      Formatted: Normal, Indent: Left 0.57", Hanging:      os·,
          if requeste-d- by Plaintiff's- Expert wi thin a -reasonable period -oftfme "'',                 Right: 0.04", Space Before: 1.45 pt, No bullets or
          after receiving the request (._e.g,. three (3 business da s • - Such            ',              numbering
          hardcopies may be made on watermarked paper at Defendants'                                      Formatted
          election. Any individual request seeking more than 25 consecutive
          pages or resulting in a cumulative total of more than 3% of all Source



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          Code produced is unreasonable (which may be rebutted). -Plaintiff's
          Expert may request printed portions of additional Source Code
          beyond these limits upon a reasonable showing of need. Defendants                                                                                C"i4m
          may mark printed Source Code pages or portions, "HIGHLY                                         Formatted: Font 10 pt
          CONFIDENTAL - ATTORNEYS' EYES ONLY (SOURCE CODE)," to                                           Formatted: Normal, Line spacing: Exactly 10 pt
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•          signify that the Source Code is being produced under the Standing       '                                                 Formatted: left
           Protective Order entered jn this Action and under the terms described __ _
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           in this Stipulated Protective Order.. _________________________ _
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           Stipulation will be kept in a locked container at the Reviewing                                  '                       >F
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           Location. Plaintiff's Expert may review these paper copies at the                                                          Right: o.04", space Before: 1.45 pt. No bullets or
           Reviewing Location, and Plaintiff's Expert agrees that he or she will                                                      numbering
           not copy, email, transmit, upload, download, print, photograph or
           otherwise duplicate any portion of the printed copies of the Source
           Code, either in paper or electronic form, except as otherwise agreed                                                       Formatted: Expanded by 0.05 pt
           by the parties..___ ________________________________________ ,'
                                                                                                                                      Formatted: Normal, Indent: left 0.57", Hanging: 0.5",
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     d.    Q:....__,.Without written permission from Defendants or a court order ., '                                                 numbering
           secured after appropriate notice to Defendants, Plaintiff may not file                 Formatted: Font Arial. 12 pt. Expanded by 0.05 pt
           in this Action or any other action, proceeding, investigation or
                                                                                                , Formatted: Expanded by 0.05 pt
           arbitration, any material that reflects any information based on any
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           Qualified Source Code Person's review of the Source Code. Should                     , Formatted: Font 12 pt. Expanded by 0.05 pt
           the Court order the production of any material reflecting any                   , ,, Formatted: Normal, Indent: left 0.57", Hanging: 0.5'',
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           information based on any Qualified Source Code Person's review of              , ,I Right: 0.04", Space Before: 1.45 pt, No bullets or
           the Source Code, the parties must move to seal any such material in          ,',:, numbering
           compliance with the Individual Practices and Rules of Judge Bryant, ,':, , Formatted: Font 12 pt. Not Italic, Expanded by 0.05
           Local Rules of Civil Procedure for the District of Connecticut, Federal ,' • I Formatted: Font 12 pt, Expanded by 0.05 pt
           Rules of Civil Procedure or any other applicable rules or law.~        _,' ,' ,'I I
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     e.    ~       f Plaintiff_ seeks to _rep.roduce lines _of code _in a_ motion.1 . : ,;:;, , Formatted: Expanded by 0.05 pt
           pleading, expert report or any type of public filing in this Action, the ;, , ,' Formatted: Normal, Indent: Left 0.57", Hanging: 0.5'',
           reproduction can only be allowed upon approval by the Court, , ,' ',,' Right: 0.04", Space Before: 1.45 pt, No bullets or
           magistrate judge or a special master based on an J!l:~a_l'l'!~r!l /~Yi~~.! _,',' /, numbering
           Any document containing _a reproduction of_lines of code will_be _,' ,,' , Formatted: Font 12 pt Expanded by 0.05 pt
           requested by the parties to be filed under seal pursuant to applicable ,',' I Formatted: Font 12 pt Font color. Auto, Expanded by
           law, subject to court order, and marked, "HIGHLY CONFIDENTAL - ,', ,'I I 0.05 pt
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     f..   f.                    Defendants shall provide_.Source Code Qualified Persons.~! ',' I
           with a list of all programs or applications installed on the stand-alone ,' ,' I                                           Formatted: Font 12 pt Expanded by 0.05 pt
           computers. -1"~- !l!_~njtpJing_pi:_0.9!~'!1 or .!iPP~~l!tion 1~~c_h_ !l!I _~ey: ~' ,', II                                  Formatted: Font 12 pt. Expanded by 0.05 pt
           stroke monitors) shall be installed on the stand-alone computers. ,' ,, ,                                                  Formatted: Expanded by 0.05 pt
           J!Jf_0!l!l.!i!i!.>!'.I _e~ptaJl!i!lg__h_o~ to_~t~.!'l1 !~g_Q1JtP1 !l!'.I~ pp~ra_t~ !tu~ !l!a_n9: _,' ,:, I
           alone, secured computers in order to access the produced Source ,:, ,,                                                     Formatted: Normal. Indent left 0.57", Hanging: 0.5'',
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           Code on the stand-~1!.>!I~'- ~~c_ur~(! ~Q!!'P_!.l!~r!I ~iU _b~~r!_>yld~!i!.._V'ti!I! _/ ,' I
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           the exception of the absence of internet connectivity and the absence                                 /,'
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           of removable memory devices (USB etc.), the stand-alone computers ,', I
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           shall meet prevailing specifications of Hewlett Packard top of the line ,' ,' , I                                           Formatted: Font +Body (Calibri), Not Bold
            business desktops or the equivalent.- _ _ _ _ _ _                           _ ___________, ,' ,' I                         Formatted: Font +Body (Calibri), Not Bold
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            Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 30 of 37




                                                                                      • ,_ -       Formatted: Font +Body (Calibri), Not Bold, Not Italic
•           tools selected by Plaintiff and his Experts, so long as such tools are '
            not compilers, interpreters or simulators. ..,Plaintiff will provide any ___         >------------------<
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            necessary software licenses at his cost. Plaintiff will identify all                   Formatted
            analyzer tools by June 30, 2019, and any related dispute is to be
            resolved before a magistrate judge or special master.-

            h:,___~o_u_r(?~ Code Qualified Persons shall make easonable • , ...,,
            efforts to restrict their re uests for access to the stand-alone
            secured computers from Monday through Saturday at 8:00 a.m.
            through 6:00 p.m. local time at the Reviewing Location ____
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     j.,.   !.:..___.U_P-on reasonable notice from PlaintiffJ which shall not be less • - -        Formatted: Normal, Indent: Left: 0.57", Hanging: 0.5",
            than three (3) business days in advance, Defendants shall make ...,_,,                 Right: 0.04", Space Before: 1.45 pt. No bullets or
            reasonable efforts to accommodate Plaintiff's request for access to           '        >-
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            the secured, stand-alone computers outside of normal business                           Formatted
            hours. Such an expanded review period shall not begin earlier than
            8:00 a.m. and shall not end later than 8:00 p.m. local time at the
            Reviewing Location. -The arties a ree to coo erate in ood faith
            such that maintaining the Source Code at the Reviewing Location
            shall not unreasonably hinder Plaintiff's ability to conduct the
            prosecution or defense in this Action

            i.:....____.!Jo co ies shall J>e .,made J>y .,.P laintiff of Source Code • - -          Formatted: Normal, Indent: Left: 0.57", Hanging: 0.5",
            whether physical, electronic, or otherwise, other than volatile copies                  Right: 0.04", Space Before: 1.45 pt, No bullets or
            necessarily made in the normal course of accessing the Source Code                      numbering
             on the stand-alone, secured computers.                o outside electronic             Formatted
             devices, including but not limited to laptop computers, USB flash
            drives, zip drives, or devices with camera functionalities shall be
             permitted in the same room as the stand-alone computers.-

            L...J?.~f~~~l!~ts ,.may ,.exercise ersonal su ervision from outside -- -                Formatted: Normal, Indent: Left: 0.57", Hanging: 0.5",
            the review room at the Reviewing Location over Source Code                              Right: 0.04", Space Before: 1.45 pt, No bullets or
            Qualified Persons when these ersons are in the Source Code review                       numbering
            room. -Such su ervision however shall not entail review of an work                      Formatted
            product generated by the Source Code Qualified Persons, ,e.g .,
            monitoring the screens of the stand-alone computers, monitoring any
            surface reflecting any notes or work product of Source Code Qualified
            Persons or monitoring the ke strokes of Source Code Qualified
            Perso s. There will be no audio or video su ervision b Defendants
            at the Reviewing Location ~ - -

            1.
            computers, either by the Source Code Qualified Persons or at the
            request of the Source Code Qualified Persons exce t for uses to
            which the parties may agree or that the Court may order, in which
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                    Nothing _may _be removed from _the_stand-alone, _secured • '-<- - ,l            Formatted                                        Cf52l
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            circumstance any such production will be sought by the parties to be                    Formatted                                        Cf461
            sealed under the applicable law and rules
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           Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 31 of 37




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•    m-.   .!!1.........No _person _ other_ than _ Defendants _may _ alterJ _ dismantleJ· , ' ' Formatted: Left
           disassemble or modify the stand-alone computers in any way, or ",, ; , - - - - - - - - - - - - - - - - - - ,
           attempt to circumvent any security feature of the computers                          Formatted
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                    Leyj,ey,,M   ot D,e.f.e!l,.d.aN.s,·.source Code can be used to .solely for the
                     purposes of this Action, and any intended use thereof in this
                     Action must be disclosed to Defendants in writing seven (7) ~
                     days prior to its intended use so that Defendants can make
                     any motion they deem appropriate. -Such testimon Ll§.                                      ·ec
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                       othing_ in this Su pJemental Protective Order shall restrict the
                     ability of Plaintiff's Outside Counsel of Record as defined in
                     Paragraph 3(b) herein to represent clients other than Plaintiff
                     against one or more of the Defendants so Ion as Plaintiff's                                             Formatted
                     Outside Counsel of Record comply with the provisions of this
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                     Supplemental Protective Order, The restriction of the preceding
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•               sentence does not apply
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                                           if one or more of Defendants is a party
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                to the action, proceeding or arbitration and the Source Code as
                issue has been ordered produced subject to an appropriate
                protective order in that action, proceeding or arbitration. Also,
                this restriction does not prevent an expert from testifying based
                on any information or material produced in other proceedings.
                In this circumstance the court or arbitrator in the other action
                proceeding or arbitration is in the best position to rule on issues
                in that action, proceeding or arbitration., __________________ -                       -[...._~....;.o_rm
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                   L_.Within _30 days _after the final disp9 sition of this_ Action,_ as • ,                                  Formatted
                   defined herein, each Source Code Qualified Perso must return to " -
                   Defendants or destroy any materials addressed in Paragraph 5 herein,
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                   including all summaries, notes, and any other materials reflecting any                                     Right: o.04", Space Before: 1.45 pt, No bullets or
                   information about the Source Code As used in this subdivision an                                           numbering
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                    Defendants by the 30-day deadline that (1) identifies (by category,
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                    where appropriate) all the material that was returned or destroyed and
                    (2) affirms that the certifying Source Code Qualified Perso has not                                       Formatted
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                      EXHIBIT C

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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

          ROBERT SCOTT BATCHELAR,                    CASE NO. 3:15-cv-01836-VLB

                                Plaintiff,
                          V.
          INTERACTIVE BROKERS, LLC,
          INTERACTIVE BROKERS GROUP,
          INC., and THOMAS A. FRANK,

                               Defendants.
                                                                 July 181 2019


                          DECLARATION OF WILLIAM S. SHEPHERD


           William S. Shepherd declares pursuant to 28 U.S.C §   1746:

              1. I am a member in good standing of the bar of the state of

                 Texas. I respectfully submit this declaration to correct

                 certain facts that have been misstated by Defendants

              2. I was founder of the firm Shepherd, Smith, Edwards & Kantas,

                 LLP, but I am no longer a partner, limited partner or otherwise

                 an owner, employee or contractor of that firm. My only

                 "affiliation" with the firm is that I receive a flat monthly net

                 rental fee, not based on any performance by me or the firm.

                 For insurance purposes I am listed as "of counsel."

              3. I am 75 years of age and am receiving treatment for medical

                 conditions which for the past year has prevented me from

                 active involvement in this or any other cases.
.....      Case 3:15-cv-01836-VLB Document 124 Filed 07/23/19 Page 37 of 37




            4. I am not counsel of record in the above-styled matter.

            s. I have not had access to any of the documents produced by
                 Defendants in the above-styled matter which are stamped

                 Confidential, Attorney's Eyes Only, Source Code, or similar

                 derivative.

            6. Because I have not had access to any confidential

                 information of Defendants, I do not have the ability to

                 disclose it to anyone and I have not disclosed any such

                 Information.

            7. I am not counsel of record for any plaintiff in any action

                 pending against Defendants.

            8.   I declare under penalty of perjury that the foregoing is true
                 and correct.

        Dated: Beaumont, Texas
            July 18, 2019




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